Appellate Case: 23-4108           Document: 010110918352             Date Filed: 09/13/2023        Page: 1


                                                                  APPEAL,CLOSED,LODGE_DOC,OPEN_MJ
                      US District Court Electronic Case Filing System
                                 District of Utah (Northern)
                     CIVIL DOCKET FOR CASE #: 1:23−cv−00042−HCN

   Brunson v. Sotomayor et al                                         Date Filed: 04/12/2023
   Assigned to: Judge Howard C. Nielson, Jr                           Date Terminated: 08/10/2023
   Case in other court: 10th Circuit, 23−04108                        Jury Demand: None
                        2nd Judicial District, Weber County,          Nature of Suit: 190 Contract: Other
                        230901367                                     Jurisdiction: U.S. Government Defendant
   Cause: 28:1441 Notice of Removal− Breach of Contract
   Plaintiff
   Raland J. Brunson                                  represented by Raland J. Brunson
                                                                     4287 S HARRISON BLVD APT 132
                                                                     OGDEN, UT 84403
                                                                     (385) 492−4898
                                                                     Email: raland.brunson@hotmail.com
                                                                     PRO SE


   V.
   Defendant
   Sonia Sotomayor                                    represented by Amanda A. Berndt
   in official capacity as Justice of the                            US ATTORNEY'S OFFICE
   Supreme Court of the United States                                111 S MAIN ST STE 1800
                                                                     SALT LAKE CITY, UT 84111−2176
                                                                     (801) 325−3267
                                                                     Email: amanda.berndt@usdoj.gov
                                                                     ATTORNEY TO BE NOTICED

   Defendant
   Elena Kagan                                        represented by Amanda A. Berndt
                                                                     (See above for address)
                                                                     ATTORNEY TO BE NOTICED

   Defendant
   Ketanji Brown Jackson                              represented by Amanda A. Berndt
   in official capacity as Justice of the                            (See above for address)
   Supreme Court of the United States                                ATTORNEY TO BE NOTICED


    Date Filed       #    Page Docket Text
    04/12/2023        1          NOTICE OF REMOVAL from Second Judicial District Weber County, case
                                 number 230901367, No Filing Fee No Filing Fee filed by Ketanji Brown
                                 Jackson, Elena Kagan, Sonia Sotomayor. (Attachments: # 1 Exhibit A − State
                                 Court Complaint, # 2 Exhibit B − State Court Docket, # 3 Civil Cover Sheet )


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Appellate Case: 23-4108    Document: 010110918352               Date Filed: 09/13/2023          Page: 2


                          (Berndt, Amanda) (Entered: 04/12/2023)
    04/12/2023            Magistrate Judge Jared C. Bennett added.

                          Case number will now read 1:23−CV−00042−JCB. Please make changes to
                          document captions accordingly. (ks) (Entered: 04/12/2023)
    04/12/2023    2       NOTICE − This case is assigned to a magistrate judge. Under 28 U.S.C. 636(c)
                          and Fed. R. Civ. P. 73, you are hereby notified that a magistrate judge for the
                          District of Utah may conduct any or all proceedings in this case, including a
                          jury or bench trial and entry of a final judgment. Exercise of this jurisdiction by
                          the magistrate judge is permitted only if all parties voluntarily sign and return
                          the form. To consent, return the Consent Form to the clerk's office within 21
                          days via email at consents@utd.uscourts.gov or mail at the address on the form
                          and place Attention: Consent Clerk on the envelope.
                          Please do not e−file the Consent Form in the case. Notice e−mailed or mailed
                          to Defendants Ketanji Brown Jackson, Elena Kagan, Sonia Sotomayor, Plaintiff
                          Raland J. Brunson. Form due by 5/3/2023. (mh) (Entered: 04/12/2023)
    04/13/2023    3       ORDER TO PROPOSE SCHEDULE − See order for details. Signed by
                          Magistrate Judge Jared C. Bennett on 4/13/2023. (alf) (Entered: 04/13/2023)
    04/13/2023    4       RECEIVED Consent/Reassignment Form from Plaintiff Raland J. Brunson.
                          (alf) (Entered: 04/14/2023)
    04/18/2023    5       RECEIVED Consent/Reassignment Form from Defendants Ketanji Brown
                          Jackson, Elena Kagan, Sonia Sotomayor. (alf) (Entered: 04/19/2023)
    04/19/2023    6       NOTICE OF NON−CONSENT: Consent to the jurisdiction of the Magistrate
                          Judge under DUCivR 72−4 has not been obtained. Case randomly assigned to
                          Judge Howard C. Nielson, Jr and Magistrate Judge Jared C. Bennett is
                          automatically referred under 28 U.S.C. 636(b)(1)(B). Magistrate Judge Jared C.
                          Bennett no longer assigned as the presiding judge to the case. (alf) (Entered:
                          04/19/2023)
    04/19/2023    7       MOTION to Dismiss for Lack of Jurisdiction and Memorandum in Support
                          filed by Defendants Ketanji Brown Jackson, Elena Kagan, Sonia Sotomayor.
                          Motions referred to Jared C. Bennett.(Berndt, Amanda) (Entered: 04/19/2023)
    04/24/2023    8       Correspondence from interested individuals. (jl) (Entered: 04/24/2023)
    04/24/2023    9       DOCUMENTS LODGED consisting of correspondence from non−parties.
                          Note: attached document lodged for reference purposes only; no response
                          required unless specifically ordered by the court. (alt) (Entered: 04/26/2023)
    05/01/2023   10       DOCUMENTS LODGED consisting of correspondence from non−parties..
                          Note: attached document lodged for reference purposes only; no response
                          required unless specifically ordered by the court. (alf) Modified on 5/8/2023 to
                          correct typo. (alf). (Entered: 05/01/2023)
    05/05/2023   11       DOCUMENTS LODGED consisting of correspondence from non−parties.
                          Note: attached document lodged for reference purposes only; no response
                          required unless specifically ordered by the court. (alf) (Entered: 05/08/2023)
    05/05/2023   12       DOCUMENTS LODGED consisting of correspondence from non−parties.
                          Note: attached document lodged for reference purposes only; no response


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Appellate Case: 23-4108    Document: 010110918352              Date Filed: 09/13/2023          Page: 3


                          required unless specifically ordered by the court. (alf) (Entered: 05/08/2023)
    05/08/2023   13       DOCUMENTS LODGED consisting of correspondence from non−parties.
                          Note: attached document lodged for reference purposes only; no response
                          required unless specifically ordered by the court. (alt) (Entered: 05/09/2023)
    05/15/2023   14       MEMORANDUM in Opposition re 7 MOTION to Dismiss for Lack of
                          Jurisdiction and Memorandum in Support filed by Plaintiff Raland J. Brunson.
                          (alf) (Entered: 05/16/2023)
    05/15/2023   15       DOCUMENTS LODGED consisting of correspondence from non−parties.
                          Note: attached document lodged for reference purposes only; no response
                          required unless specifically ordered by the court. (alf) (Additional attachment(s)
                          added on 6/2/2023: # 1 recanned for OCR) (kb). (Entered: 05/16/2023)
    05/30/2023   16       REPLY to Response to Motion re 7 MOTION to Dismiss for Lack of
                          Jurisdiction and Memorandum in Support filed by Defendants Ketanji Brown
                          Jackson, Elena Kagan, Sonia Sotomayor. (Berndt, Amanda) (Entered:
                          05/30/2023)
    06/15/2023   17       REQUEST to Submit for Decision re 7 Plaintiff's Motion to Dismiss for Lack
                          of Subject Matter Jurisdiction, filed by Plaintiff Raland J. Brunson. (dle)
                          (Entered: 06/15/2023)
    07/07/2023   18       REPORT AND RECOMMENDATIONS re 7 MOTION to Dismiss for Lack of
                          Jurisdiction and Memorandum in Support filed by Ketanji Brown Jackson,
                          Elena Kagan, Sonia Sotomayor. The court HEREBY RECOMMENDS that
                          Defendants' motion to dismiss be GRANTED and that this case be DISMISSED
                          WITHOUT PREJUDICE for lack of subject−matter jurisdiction.
                          Copies of this Report and Recommendation are being sent to all parties, who
                          are hereby notified of their right to object. The parties must file any objections
                          to this Report and Recommendation within 14 days after being served with a
                          copy of it. Failure to object may constitute waiver of objections upon
                          subsequent review. Signed by Magistrate Judge Jared C. Bennett on 7/7/2023.
                          (jwt) (Entered: 07/07/2023)
    07/17/2023   22       OBJECTION to 18 Report and Recommendations filed by Raland J. Brunson.
                          (dle) (Entered: 08/10/2023)
    08/09/2023   19       STRICKEN DOCKET TEXT ORDER. On July 7, 2023, Magistrate Judge
                          Bennett entered 18 Report and Recommendation recommending that
                          Defendants' motion to dismiss be granted and that this case be dismissed
                          without prejudice for lack of subject matter jurisdiction. The Report and
                          Recommendation further provided that [t]he parties must file any objections
                          within fourteen days of being served with the Report and Recommendation and
                          that [f]ailure to object may constitute waiver of objections upon subsequent
                          review. Dkt. No. 18 at 7. Plaintiff has not filed, and thus has waived, any
                          objections to the Report and Recommendation. See Thomas v. Arn, 474 U.S.
                          140, 14950 (1985); Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991).
                          Based on its review of the Report and Recommendation and the docket, the
                          court cannot say that Magistrate Judge Bennett committed plain error. See
                          Morales−Fernandez v. I.N.S., 418 F.3d 1116, 1122 (10th Cir. 2005). The court
                          accordingly ADOPTS 18 Report and Recommendation. This action is
                          DISMISSED WITHOUT PREJUDICE. SO ORDERED. Signed by Judge
                          Howard C. Nielson, Jr., on 8/9/2023. No attached document. (tf) Modified by

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Appellate Case: 23-4108    Document: 010110918352              Date Filed: 09/13/2023          Page: 4


                          striking docket entry on 8/10/2023 (dle). (Entered: 08/09/2023)
    08/10/2023   20       STRICKEN JUDGMENT IN A CIVIL CASE: This action is dismissed
                          without prejudice. Case Closed. Signed by Judge Howard C. Nielson, Jr on
                          8/10/23. (dle) Modified by striking docket entry on 8/10/2023 (dle). (Entered:
                          08/10/2023)
    08/10/2023   21       Modification of Docket: Documents 19 Order on Report and
                          Recommendations, 20 Judgment have been stricken from the docket as they
                          were entered in error. (dle) (Entered: 08/10/2023)
    08/11/2023   23       DOCKET TEXT ORDER. On July 7, 2023, Magistrate Judge Bennett entered
                          18 Report and Recommendation recommending that Defendants' motion to
                          dismiss be granted and that this case be dismissed without prejudice for lack of
                          subject matter jurisdiction. On July 17, 2023, Plaintiff filed 22 Objection to
                          Report and Recommendation. Having carefully reviewed the notice of removal,
                          the complaint, the report and recommendation, and Plaintiff's objections, the
                          court concludes that the objections are not well taken. The court accordingly
                          OVERRULES Plaintiff's objections and ADOPTS Judge Bennett's report and
                          recommendation. In the interests of justice, dismissal shall be without prejudice.
                          This action is DISMISSED WITHOUT PREJUDICE. SO ORDERED. Signed
                          by Judge Howard C. Nielson, Jr., on 8/11/2023. No attached document. (tf)
                          (Entered: 08/11/2023)
    08/11/2023   24       JUDGMENT IN A CIVIL CASE: This action is dismissed without prejudice.
                          Case closed. Signed by Judge Howard C. Nielson, Jr on 8/11/23. (dle) (Entered:
                          08/11/2023)
    08/15/2023   25       NOTICE OF APPEAL as to 24 Judgment, filed by Raland J. Brunson. Appeals
                          to the USCA for the 10th Circuit. Fee Status: Not Paid. Filing fee $ 505. (dle)
                          (Entered: 08/17/2023)
    08/17/2023   26       Transmission of Preliminary Record to USCA re 25 Notice of Appeal as to
                          Tenth Circuit. (Attachments: # 1 Appendix) (dle) (Entered: 08/17/2023)
    08/17/2023   27       USCA Case Number Case Appealed to 10th Circuit Case Number 23−4108 for
                          25 Notice of Appeal filed by Raland J. Brunson. This form must be filed in both
                          the district court and this court. See letter for additional information. (mh)
                          (Entered: 08/17/2023)
    09/12/2023   28       USCA Appeal Fees received $ 505 receipt number 3467 re 25 Notice of Appeal
                          filed by Raland J. Brunson (haa) (Entered: 09/12/2023)




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    Case 1:23-cv-00042-HCN Document 1 Filed 04/12/23 Page 1 of 4 PageID 1
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 5




 TRINA A. HIGGINS, United States Attorney (7349)
 AMANDA A. BERNDT, Assistant United States Attorney (15370)
 Attorneys for the United States of America
 111 South Main Street, Suite 1800
 Salt Lake City, Utah 84111
 (801) 524-5682
 amanda.berndt@usdoj.gov


                               UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH

  RALAND J. BRUNSON,

                          Plaintiff,                    NOTICE OF REMOVAL
                                                        PURSUANT TO 28 U.S.C. § 1442(a)
        v.

  SONIA SOTOMAYOR, ELENA KAGAN,                         Case No. 1:23-cv-00042
  KETANJI BROWN JACKSON, in their official
  capacities as Justices of the Supreme Court of        Formerly Utah State Court Case No.
  the United States, and JOHN and JANE DOES             230901367
  1-100,

                          Defendants.

        Defendants Sonia Sotomayor, Elena Kagan, and Ketanji Brown Jackson (collectively

 Defendants), through undersigned counsel, hereby submit this notice of removal of the above-

 captioned civil action from the Second Judicial District in the State of Utah, to the United States

 District Court for the District of Utah, pursuant to 28 U.S.C. § 1442(a), and in support state:

        1.      On March 7, 2023, plaintiff Raland Brunson filed a complaint against Defendants,

 in their official capacities as Associate Justices of the United States Supreme Court, in the

 Second Judicial District, Case No. 230901367. Plaintiff asserts claims for breach of contract,

 intentional infliction of emotional distress, fraud, and civil conspiracy. Plaintiff’s claims are




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    Case 1:23-cv-00042-HCN Document 1 Filed 04/12/23 Page 2 of 4 PageID 2
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 6




 premised on the Supreme Court’s denial of his petition for writ of certiorari in Brunson v.

 Adams, et al., No. 22-380.

         2.      A copy of the complaint in the state court is attached as Exhibit A, in accordance

 with 28 U.S.C. § 1446(a). Neither a summons nor a complaint has been served on the United

 States Attorney’s Office.

         3.      Pursuant to 28 U.S.C. § 1442(a)(3), any civil action commenced in a state court

 against officers of the courts of the United States that relates to the performance of their duties

 may be removed to the district court for the district and division embracing the place where the

 state court action is pending. Thus, because Defendants are officers of the Supreme Court of the

 United States and plaintiff asserts claims against them in their official capacities as Associate

 Supreme Court Justices, removal under § 1442(a)(3) is appropriate.

         4.      Accordingly, pursuant to 28 U.S.C. §§ 1442(a) and 1446(a), this Notice of

 Removal is being filed in the United States District Court for the District of Utah, within which

 plaintiff filed the state court action.

         5.      In accordance with 28 U.S.C. § 1446(a) and DUCivR 81-2(b)(2), a copy of the

 state court docket is attached as Exhibit B. No scheduling order has been entered in the state

 court action.

         6.      Upon the filing of this Notice of Removal, Defendants will timely file a copy of

 the Notice with the clerk of the State Court in which the action is pending, and notice shall be

 given to all adverse parties, pursuant to 28 U.S.C. § 1446(d).

         7.      By removing this case to federal court, Defendants do not waive any available

 defense, nor do they admit any allegations in the Complaint.



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    Case 1:23-cv-00042-HCN Document 1 Filed 04/12/23 Page 3 of 4 PageID 3
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 7




        WHEREFORE, this action now pending in the Second Judicial District for the State of

 Utah is properly removed to this court pursuant to 28 U.S.C. § 1442(a).

        Dated this 12th day of April, 2023.

                                                 TRINA A. HIGGINS
                                                 United States Attorney

                                                 /s/ Amanda A. Berndt
                                                 AMANDA A. BERNDT
                                                 Assistant United States Attorney




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    Case 1:23-cv-00042-HCN Document 1 Filed 04/12/23 Page 4 of 4 PageID 4
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 8




                                  CERTIFICATE OF SERVICE

        The undersigned employee of the United States Attorney’s Office hereby certifies that on

 April 12, 2023, the following document:

        Notice of Removal

 was served by U.S. Mail and electronic mail to the following individual:

        Raland J. Brunson
        4287 South Harrison Boulevard, #132
        Ogden, Utah 84403
        thedreamofthecentury@gmail.com

                                                 /s/ Amanda A. Berndt
                                                 AMANDA A. BERNDT
                                                 Assistant United States Attorney




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   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 1 of 19 PageID 5
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 9




             EXHIBIT A




                                                                                9
   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 2 of 19 PageID 6
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 10




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   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 3 of 19 PageID 7
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 11




                                                                                 11
   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 4 of 19 PageID 8
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 12




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   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 5 of 19 PageID 9
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 13




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   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 6 of 19 PageID 10
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 14




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   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 7 of 19 PageID 11
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 15




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   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 8 of 19 PageID 12
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 16




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   Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 9 of 19 PageID 13
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 17




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  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 10 of 19 PageID 14
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 18




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  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 11 of 19 PageID 15
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 19




                                                                                 19
  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 12 of 19 PageID 16
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 20




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  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 13 of 19 PageID 17
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 21




                                                                                 21
  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 14 of 19 PageID 18
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 22




                                                                                 22
  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 15 of 19 PageID 19
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 23




                                                                                 23
  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 16 of 19 PageID 20
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 24




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  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 17 of 19 PageID 21
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 25




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  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 18 of 19 PageID 22
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 26




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  Case 1:23-cv-00042-HCN Document 1-1 Filed 04/12/23 Page 19 of 19 PageID 23
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 27




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   Case 1:23-cv-00042-HCN Document 1-2 Filed 04/12/23 Page 1 of 2 PageID 24
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 28




              EXHIBIT B




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4/12/23, 10:29 AM              Case 1:23-cv-00042-HCN Document 1-2 Filed       04/12/23
                                                                          XCHANGE Welcome Page 2 of 2 PageID 25
                          Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 29
     Welcome: U.S. Attorney's Office Dist Utah (Balance Case
                                                        Owing:History
                                                              $0.00)  / Documents                                                                                                 Public Access

     Home       Make Payment         Manage Account                                                                                                                           Help          Logout

 Utah Court Case Search                                                       SECOND DISTRICT COURT - OGDEN                                                                           Search Tips
                                                                                     WEBER, STATE OF UTAH
                                                                                                                                                        Search        Clear Search Fields
                                                                      BRUNSON, RALAND J vs. KAGAN, ELENA, et al.
                         Jurisdiction District                                              Show Date Range Panel

                        Search Type Case Search                               Search Scope State Wide
                                             Case Number                                                                         Current Assigned Judge
                              Case                                              Case Type                                             Citation
                                          230901367 - Contracts                                                                           JOSEPH BEAN
                            Number                                                                                                    Number

                        Last Name / BRUNSON*                                    First Name RALAND*                                Birth Date mm-dd-yyyy
                          Company
        Parties

                                                                                                                                                        Search        Clear Search Fields
           Relationship                                   Party                                                                          Represented By
                                                                                                     1

 Search Results
           Plaintiff                                      RALAND J BRUNSON

    County               Court                Case Type           Case Number       Filing Date ↓        First Name       Last Name        Birth Date        Party Code        Documents
           Defendant                                      ELENA KAGAN
    WEBER                Ogden District       CN                  230901367         2023-03-07           RALAND J         BRUNSON                            PLA               View

    WEBER
           Defendant Ogden District           MI
                                                          SONIA210903303
                                                                 SOTOMAYOR 2021-06-21                    RALAND J         BRUNSON                            PET               View

    WEBER
           Defendant Ogden District           DA               214900147
                                                          KETANJI           2021-01-27
                                                                  BROWN JACKSON                          RALAND J         BRUNSON                            PET               View

                         West Jordan
    SALT LAKE                                 DC                  120412469         2012-09-28           RALAND           BRUNSON                            DEF               View
                         District

        Events
    SALT LAKE
                         West Jordan
                                              JC                  110401768         2011-02-03           RALAND           BRUNSON                            DEF               View
                         District

                         West Jordan
          #
    SALT LAKE          Description
                         District
                                              DC                  070415906         2007-09-14                Case
                                                                                                         RALAND J  Number
                                                                                                                      BRUNSON                   Filing Date DEF       View? View

    UTAH                 Provo District       TN                  075409602         2007-07-06           RALAND           BRUNSON          1959-03-06        DEF               View
                       Case filed by trinaf                                                                    230901367                        2023-03-07
                         West Jordan
    SALT LAKE                                 DC                  050408714         2005-09-12           RALAND           BRUNSON                            DEF               View
                         District
           1           Filed: Complaint                                                                        230901367                        2023-03-07            View
    UTAH                 Provo District       TN                  055411932         2005-06-21           RALAND J         BRUNSON          1959-03-06        DEF               View
                       Fee Account created                                                                     230901367                        2023-03-07
                         Salt Lake City
    SALT LAKE                                 TL                  046911089         2004-04-12           RALAND J         BRUNSON                            DEF               View
                         District
                       Fee Payment                                                                             18964225                         2023-03-07
                         Salt Lake City
    SALT LAKE                                 TL                  006902180         2000-02-07           RALAND           BRUNSON                            DEF               View
                         District
                       Fee Account created                                                                     230901367                        2023-03-07
                         Salt Lake City
    SALT LAKE                                 TL                  996906723         1999-06-07           RALAND           BRUNSON                            DEF               View
                         District
           2           Filed: Summons (Elena Kagan)                                                            230901367                        2023-03-07            View
    UTAH                 Provo District       CV                  970400140         1997-02-18           RALAND J         BRUNSON                            DEF               View

           3           Filed:  Summons (Ketanji)
                          Salt Lake City
                                                                                                               230901367                        2023-03-07            View
    SALT LAKE                                 CV                  930901879         1993-04-05           RALAND           BRUNSON                            DEF               View
                         District

           4           Filed: Summons (Sonia Sotomayor)                                                        230901367                        2023-03-07            View
                         Salt Lake City
    SALT LAKE                                 CN                  930901715         1993-03-26           RALAND           BRUNSON                            PLA               View
                         District

                       Fee Account created                                                                     230901367                        2023-03-15
    UTAH                 Provo District       IF                  931000158         1993-02-02           RALAND           BRUNSON          1959-03-06        DEF               View

    UTAH               Fee Payment
                         Provo District       CN                  920400791         1992-12-15                18973545 BRUNSON
                                                                                                         RALAND                                 2023-03-15DEF                  View



           5           Filed: Summons (Ketanji)                                                                230901367                        2023-03-16            View


           6           Filed: Return Summons and Complaint                                                     230901367                        2023-03-24            View


           7           Filed: Return Summons and Complaint                                                     230901367                        2023-03-24            View


           8           Filed: Return Summons and Complaint                                                     230901367                        2023-03-24            View




        Account Summary


           Account                                                                                           Detail


           REVENUE DETAIL - TYPE: COMPLAINT 10K-MORE                                                         Amount Due:          $         375.00
                                                                                                 Amount Paid:      $         375.00
    Print PDF          Get Purchase Info             Warning, do not refresh or click the browser back button, you will lose your search results.                         Back to Search
                                                                                                 Amount Credit:    $           0.00
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JS 44 (Rev. 10/20) Case 1:23-cv-00042-HCN CIVIL                   Document     COVER1-3 Filed SHEET   04/12/23 Page 1 of 2 PageID 26
            Appellate        Case:       23-4108           Document:          010110918352                   Date Filed: 09/13/2023 Page: 30
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       RALAND J. BRUNSON, pro se                                                                         SONIA SOTOMAYOR, ELENA KAJAN, KETANJI BROWN
                                                                                                         JACKSON, and JOHN/JANE DOES 1-100
   (b) County of Residence of First Listed Plaintiff              Weber                                  County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
       4287 S. Harrison Boulevard, #132, Ogden, Utah 84403                                             Amanda A. Berndt, Assistant United States Attorney
       (385) 492-4898; thedreamofthecentury@gmail.com                                                  111 Main Streeet, Suite 1800, Salt Lake City, Utah 84111
                                                                                                       (801) 524-5682; amanda.berndt@usdoj.gov
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

X2     U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                                                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
x 190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                 Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
 1 Original     x 2 Removed from                            3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding           State Court                            Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                    28 U.S.C. § 1442(a)
VI. CAUSE OF ACTION Brief description of cause:
                                       Action asserting contract and tort claims against Defendants for denying plaintiff's petition for writ of certoriari
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                               DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
April 12, 2023                                                         /s/ Amanda A. Berndt
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE

                                                                                                                                                                                                   30
               Case 1:23-cv-00042-HCN Document 1-3 Filed 04/12/23 Page 2 of 2 PageID 27
JS 44 Reverse (Rev. 10/20)
            Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 31
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                                              31
    Case 1:23-cv-00042-HCN Document 7 Filed 04/19/23 Page 1 of 7 PageID 36
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 32




 TRINA A. HIGGINS, United States Attorney (7349)
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                              UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH

  RALAND J. BRUNSON,
                                                       MOTION TO DISMISS FOR
                          Plaintiff,                   LACK OF SUBJECT-MATTER
                                                       JURISDICTION
        v.

  SONIA SOTOMAYOR, ELENA KAGAN,                        Case No. 1:23-cv-00042-HCN-JCB
  KETANJI BROWN JACKSON, JOHN
  and JANE DOES 1–100,                                 Judge Howard C. Nielson
                                                       Magistrate Judge Jared C. Bennett
                         Defendants.

                                          INTRODUCTION

        Defendants Sonia Sotomayor, Elena Kagan, and Ketanji Brown Jackson (collectively

 “Defendants”) respectfully request that this matter be dismissed pursuant to FED. R. CIV. P.

 12(b)(1) because the doctrine of derivative jurisdiction deprives this Court of jurisdiction over

 this removed action.

                                          BACKGROUND

        Plaintiff Raland J. Brunson, pro se, initiated this action against Defendants, in their

 official capacities as Associate Justices of the United States Supreme Court, in the Second




                                                                                                     32
    Case 1:23-cv-00042-HCN Document 7 Filed 04/19/23 Page 2 of 7 PageID 37
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 33




 Judicial District Court of Utah (“state court”), Case No. 230901367, on March 7, 2023. 1

 Brunson’s claims—which include breach of contract, intentional infliction of emotional distress,

 fraud, and civil conspiracy—arise from the Supreme Court’s denial of his petition for writ of

 certiorari in Brunson v. Adams, et al., No. 22-380. 2

        The United States Attorney’s Office for the District of Utah removed the action to this

 Court pursuant to 28 U.S.C. § 1442(a) on April 13, 2023. 3

                                      STANDARD OF REVIEW

        Under FED. R. CIV. P. 12(b)(1), a court should “presume no jurisdiction exists.” 4 The

 burden of establishing subject-matter jurisdiction “rests upon the party asserting jurisdiction.” 5

 To establish jurisdiction, a plaintiff “must ‘allege in his pleading the facts essential to show

 jurisdiction’ and ‘must support [those facts] by competent proof.’” 6 Where, as here, the

 defendant’s motion is a facial attack on the complaint’s allegations, a court must accept the

 factual allegations in the complaint as true. 7 While a pro se litigant’s pleadings should be




    1
        See Compl. (Docket No. 1-1).
    2
        Id.
    3
        See Notice of Removal (Docket No. 1).
    4
        United States ex rel. Precision Co. v. Koch Indus., 971 F.2d 548, 551 (10th Cir. 1992).
    5
        Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
    6
        Koch Indus., 971 F.2d at 551 (quoting McNutt v. Gen. Motors Acceptance Corp., 298
 U.S. 178, 189 (1936)).
    7
         Holt v. United States, 46 F.3d 1000, 1002 (10th Cir. 1995).

                                                   2


                                                                                                       33
    Case 1:23-cv-00042-HCN Document 7 Filed 04/19/23 Page 3 of 7 PageID 38
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 34




 “liberally construed,” 8 a plaintiff’s pro se status does not “excuse the obligation of any litigant”

 to comply with all jurisdictional and procedural rules. 9

                                             ARGUMENT

          The doctrine of derivative jurisdiction provides that a federal court’s jurisdiction upon

 removal “is derivative in nature and does not exist if the state court from which the action is

 removed lacks jurisdiction.” 10 The doctrine prohibits a federal court from acquiring jurisdiction

 over such a removed action “even though the federal court would have had jurisdiction if the suit

 had originated there.” 11 Although Congress has amended the general removal statute to eliminate

 derivative jurisdiction as to removals under 28 U.S.C. § 1441, 12 the doctrine remains applicable

 to removals under section 1442. 13 Defendants removed this matter from state court under 28

 U.S.C. §1442(a)(3). Thus, if the state court did not have jurisdiction over the claims asserted

 against Defendants, this Court acquired none upon removal.

          Sovereign immunity “generally shields the United States, its agencies, and officers acting

 in their official capacity from suit.” 14 The party bringing suit against the United States or a


    8
          Estell v. Gamble, 429 U.S. 97, 106 (1996).
    9
          Ogden v. San Juan Cty., 32 F.3d 452, 455 (10th Cir. 1994).
    10
       Crow v. Wyoming Timber Products Co., 424 F.2d 93, 96 (10th Cir. 1970) (citing
 Minnesota v. United States, 305 U.S. 382, 389 (1939)).
    11
        Arizona v. Manypenny, 451 U.S. 232, 242 n.17 (1981); see also Minnesota, 305 U.S. at
 388 (explaining that “it rests with Congress to determine not only whether the United States may
 be sued, but in what courts the suit may be brought.”).
    12
          28 U.S.C. § 1441(f).
    13
          See, e.g., Bowers v. J & M Discount Towing, LLC, 472 F. Supp. 2d 1248, 1254 (D.N.M.
 2006).
    14
        Wyoming v. United States, 279 F.3d 1214, 1225 (10th Cir. 2002) (citing FDIC v. Meyer,
 510 U.S. 471, 475 (1994)).

                                                   3


                                                                                                         34
    Case 1:23-cv-00042-HCN Document 7 Filed 04/19/23 Page 4 of 7 PageID 39
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 35




 federal official bears the burden of proving that sovereign immunity has been waived. 15 A

 waiver of sovereign immunity cannot be implied and must be unequivocally expressed. 16

          In his Complaint, Brunson seeks money damages against Defendants in their official

 capacities relating to the denial of his petition for writ of certiorari. 17 His first cause of action is

 styled as a claim for breach of contract. 18 The remaining causes of action assert claims of

 intentional infliction of emotional distress, fraud, and civil conspiracy. 19 But Brunson has cited

 no waiver of sovereign immunity that would allow him to recover money damages from

 Defendants or the United States.

          The Tucker Act waives the government’s sovereign immunity for actions founded on

 “any express or implied contract with the United States . . . .” 20 But that Act grants the Court of

 Federal Claims exclusive jurisdiction to hear such claims if the alleged damages exceed

 $10,000. 21 Because Brunson alleges that he has suffered damages in excess of $3 billion, any

 breach-of-contract claim could only be cognizable in the Court of Federal Claims, not state

 court. 22


     15
        James v. United States, 970 F.2d 750, 753 (10th Cir. 1992); Warren v. United States, 244
 F. Supp. 3d 1173, 1212 (D.N.M. 2017).
     16
        Fed. Aviation Admin. v. Cooper, 566 U.S. 284, 290–91 (2012); United States v. Nordic
 Village, Inc., 503 U.S. 30, 33–34 (1992).
     17
          See Compl. ¶¶ 30–45, 71–95.
     18
          Id. ¶¶ 46–53.
     19
          Id. ¶¶ 54–70.
     20
          28 U.S.C. § 1491(a)(1).
     21
        See 28 U.S.C. § 1346(a)(2) (granting district courts concurrent jurisdiction with the Court
 of Federal Claims for contract claims “not exceeding $10,000 in amount . . .”).
     22
        Brunson’s complaint also fails to state a claim for breach of contract. See Compl. ¶¶ 47–
 52. The submission of petitions for discretionary judicial relief and the payment of related filing
                                                     4


                                                                                                             35
    Case 1:23-cv-00042-HCN Document 7 Filed 04/19/23 Page 5 of 7 PageID 40
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 36




          Brunson’s remaining claims—intentional infliction of emotional distress, fraud, and civil

 conspiracy—sound in tort. The Federal Tort Claims Act (FTCA) is the exclusive means by

 which claimants may recover monetary damages for common-law torts committed by federal

 employees acting within the scope of their employment. 23 But the FTCA’s limited waiver of

 sovereign immunity includes numerous limitations and conditions that must be “strictly

 observed.” 24 Those limitations include that FTCA claims may only be brought in federal court

 and that such claims may only be asserted against the United States, not individual federal

 employees. 25 Thus, the state court did not have jurisdiction over Brunson’s second through

 fourth causes of action, as those claims all arise from the allegedly tortious conduct of

 Defendants, acting in their official capacities. 26

          Because no waiver of sovereign immunity exists to authorize Brunson’s claims against

 the Defendants in state court, the state court lacked jurisdiction over his claims. By operation of




 fees do not create a contract between Brunson and Defendants. Coleman v. United States, 635 F.
 App’x 875, 878 (Fed. Cir. 2015) (unpublished) (“[A]s a matter of law, the mere payment of a
 filing fee and other litigation-related expenses does not create a contract between a plaintiff and
 the United States.”) (internal quotations omitted); see also SUP. CT. R. 10 (review “on a writ of
 certiorari is not a matter of right, but of judicial discretion.”).
     23
          28 U.S.C. § 2679(b)(1); FDIC v. Meyers, 510 U.S. 471, 476 (1994).
     24
          Lopez v. United States, 823 F.3d 970, 976 (10th Cir. 2016).
     25
          28 U.S.C. §§ 1346(b)(1), 2674.
     26
         Defendants also enjoy absolute immunity from suit for judicial acts, “even when such
 acts are in excess of their jurisdiction, and are alleged to have been done maliciously or
 corruptly.” Stump v. Sparkman, 435 U.S. 349, 355–56 (1978) (internal citations omitted).
 Judicial acts plainly include deciding whether to grant a petition for writ of certiorari or a petition
 for rehearing.

                                                       5


                                                                                                           36
    Case 1:23-cv-00042-HCN Document 7 Filed 04/19/23 Page 6 of 7 PageID 41
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 37




 the derivative-jurisdiction doctrine, that defect likewise deprives this Court of jurisdiction over

 his claims. 27

                                            CONCLUSION

          For the foregoing reasons, the United States requests that this action be dismissed without

 prejudice pursuant to FED. R. CIV. P. 12(b)(1).

          Dated this 19th day of April, 2023.

                                                   TRINA A. HIGGINS
                                                   United States Attorney

                                                   /s/ Amanda A. Berndt
                                                   AMANDA A. BERNDT
                                                   Assistant United States Attorney




     27
          E.g., Bowers, 472 F. Supp. 2d at 1254.

                                                   6


                                                                                                        37
    Case 1:23-cv-00042-HCN Document 7 Filed 04/19/23 Page 7 of 7 PageID 42
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 38




                                  CERTIFICATE OF SERVICE

        The undersigned employee of the United States Attorney’s Office hereby certifies that

 on April 19, 2023, the following document:

        Motion to Dismiss for Lack of Subject-Matter Jurisdiction

 was served by U.S. Mail and electronic mail to the following individual:

        Raland J. Brunson
        4287 South Harrison Boulevard, #132
        Ogden, Utah 84403
        thedreamofthecentury@gmail.com


                                                 /s/ Amanda A. Berndt
                                                 AMANDA A. BERNDT
                                                 Assistant United States Attorney




                                                7


                                                                                                38
   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 1 of 9 PageID 118
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 39



  Raland JBrunson
  4287 South Harrison Blvd., #132
  Ogden, Utah 84403
  Phone: 385-492-4898                                                                            FILED US District Court -UT
  Email: thedreamofthecentury@gmail.com                                                           MAY 15 '23 AM09:04
  Pro Se


                                      UNITED STATES DISTRICT COURT
                                               DISTRICT OF UTAH

  RALAND J BRUNSON,                                                       OPPOSITION
                                                                     TO MOTION TO DISMISS
                     Plaintiff,                                   FOR LACK OF SUBJECT-MATTER
                                                                         JURISDICTION
                  vs.

  SONIA SOTOMAYOR, et al.,                                   Case No. 1:23-cv-00042-HCN-JCB
                        Defendants.                         Judge: Howard C. Nielsen
                                                            Magistrate Judge: Jared C. Bennett


             Plaintiff Raland J Brunson ("Brunson") hereby moves this court with his Opposition To

 Motion To Dismiss For Lack Of Subject Matter-Jurisdiction and states:

                                                     ARGUMENT

             Under Defendants motion to dismiss ("Motion") they legally argue that "a court must

  accept the factual allegations in the complaint as true." 1 And that the burden of establishing

  subject-matter jurisdiction "rests upon the party asserting jurisdiction." 2

             Brunson' s causes of actions are derived from the oath of office of the Constitution of the

  United States, and Brunson's complaint alleges that Amendment I of the United States

  Constitution states that Congress shall make no law prohibiting Brunson' s right to petition the

  Government for redress of grievances. And that the Government is first subject to Brunson's

  1
      See page 2 including footnote 6 of Defendants motion to dismiss.
  2
      See page 2 including footnote 5 of Defendants motion to dismiss.


                                                             1

                                                                                                                          39
   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 2 of 9 PageID 119
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 40



  rights, and that the Constitution grants no rights to the people, instead Bronson's individual

  rights are guarded and protected by the Constitution. And, pursuant to Amendment IX of the

  Constitution, no law of any kind can be enacted that would violate Bronson's individual rights

  which is the supreme law of the land, and that the Constitution is a restriction against the

  Government and not against Bronson's rights. See pages 1-5 ofBrunson's complaint.

  Defendant's Motion admits this as being true.

                  SUBJECT MATTER JURISDICTION AND SOVEREIGN ™MUNITY

             The principle of sovereign immunity in US law was inherited from the English common

  law legal maxim rex non potest peccare, meaning "the king can do no wrong." 3 Our founding

  fathers incorporated themselves as "We the People" in order to establish a government away

  from the doctrine that a king that can do no wrong by having no king at all-no king, no

  sovereign immunity-this is the Constitution of the United States!

             Over the years our legislative and judicial powers have together incorporated several

  types of immunity for government officials as clearly pointed out in Defendant's Motion. But

  these and all other types of immunities are first subject to, and bound by the supreme law of the

  land. "This Constitution, and the Laws of the United States which shall be made Pursuance

  thereof; ... shall be the supreme Law of the land; ... ". (See Article VI, U.S. Constitution. 4)

  These immunities can never be applied in ways that violate the Constitution.

               This honorable court is first fundamentally bound to the Constitution under Article III,

  Section 1 "The judges ... shall hold their Offices during good Behaviour" and under their oath

  of office. Therefore, this court's first prominence is to protect and defend the Constitution

  against all enemies foreign and domestic-no king, no title of nobility, no sovereign immunity.

  3
      Wikipedia. Sovereign immunity in the United States.
  4
      See paragraph 14 ofBrunson's complaint.


                                                            2

                                                                                                          40
   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 3 of 9 PageID 120
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 41



  "No title of Nobility shall be granted by the United States." See Article I, Section 9, Clause 8 of

  the Constitution. Nothing need be said to illustrate the importance of the prohibition of titles of

  nobility. This may truly be denominated the comer-stone ofrepublican government; for so long

  as they are excluded, there can never be serious danger that the government will be any other

  than that of the people. 5

             What powers do "We the People" have over our government? What power does Brunson

  have over the Defendants? The Constitution.

            "We the People" have commissioned Government to secure our rights-to secure

  Bronson's rights. "We hold these truths to be self-evident, that all men are created equal, that

  they are endowed by their Creator with certain unalienable Rights, that among these are Life,

  Liberty and the pursuit of Happiness, -          That to secure these rights, governments are instituted

  among Men, deriving their just powers from the consent of the governed. " 6 "These instruments

  measure the powers of the rulers, but they do not measure the rights of the governed . . . it grants

  no rights to the people, but is the creature of their power, the instrument of their convenience.

  Designed for their protection in the enjoyment of the rights and powers which they possessed

  before the constitution was made ... It presupposes an organized society, law, order, property,

  personal freedom, a love of political liberty, and enough of cultivated intelligence to know how

  to guard it against the encroachments of tyranny." American Bush v. Oty OfSouth Salt Lake,

  2006 UT 40 140 P.3d.1235. A violation of the oath of office, as alleged in Bronson's complaint,

  is an encroachment of tyranny upon which Brunson has a unfettered right to protect against

  tyranny which he is doing by way of his complaint. How can Defendants disagree with this

  without violating their oath?

  5
      The Federalist No.84 (Alexander Hamilton); accord the Federalist No. 39 James Madison.
  6
      See paragraph 6 of the complaint.


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   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 4 of 9 PageID 121
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 42



           In securing Bronson's rights the first ten amendments to the Constitution was ratified in

  1791 and defined by Congress as "further declaratory and restrictive clauses." They were set in

  place to restrict the Constitution from ever being a tool to create immunities for government

  officials when they violate their oath of office.

           In addition, in a most recent decision by the Supreme Court of the United States stated

  that" ... we have made clear that individual rights enumerated in the Bill of Rights and made

  applicable against the States through the Fourteenth Amendment have the same scope as against

  the Federal Government". New York State Rifle & Pistol Association, Inc., et al. v. Bruen, et al.,

  597 U. S. _ _ (2022). This also means that this court can remove the Defendants from their
                   7
  elected offices for their violation of their oath of office. .

           "We the People"-Brunson (which also includes "YOU'') have set into supreme law to

  which all courts are bound to follow, that Brunson' s complaint of redress of his grievance against

  the Defendants when they violate their oath of office must be adjudicated and cannot be passed

  over by a motion to dismiss. Defendants motion to dismiss is nothing but a bold face attempt to

  eliminate the separation of powers by inferencing sovereign immunity as a developed

  Constitutional legal authority as though they "can do no wrong". There is no Constitutional

  authority that gives them any kind of immunity in this case! Defendants are attempting to hijack

  this court so that it will not address any of the specifics ofBrunson's arguments in violation of

  its oath of office in order for Defendants to have their win.



  7
    Fourteenth Amendment, Section 3: "No person shall be a Senator or Representative in Congress, or elector of
  President and Vice-President, or hold any office, civil or military, under the United States, or under any state, who,
  having previously taken an oath, as a member of Congress, or as an officer of the United States, or as a member of
  any State legislature, or as an executive or judicial officer of any State, to support the Constitution of the United
  States, shall have engaged in insurrection or rebellion against the same, or given aid or comfort to the enemies
  thereof."



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   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 5 of 9 PageID 122
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 43



            Brunson has Article III Standing in this case because the right to bring his claims against

  the Defendants are protected under the First Amendment which states:

           Congress shall make no law respecting an establishment of religion, or prohibiting
           the free exercise thereof; or abridging the freedom of speech, or of the press; or
           the right of the people peaceably to assemble, and to petition the Government for
           a redress of grievances." 8 (Underline added)

             Furthermore, once aggrieved by government action could use the courts to "petition the

  government for a redress of grievances." [Puerto Rico v Brandstad, Governor of Iowa (1987)

  483 U.S. 219,228, 107 S.Ct. 2802, 97 L.Ed.2d 187]

             Brunson's right to bring his action against the Defendants for their violation of their oath

  of office gives Brunson subject-matter jurisdiction.

             Defendants knowing full well that they have no immunity of any kind against Brunson's

  claims for the violation of their oath of office have set out to circumvent the Constitution or

  rewrite it. Defendants cite the case of Wyoming v. Unites States which is a blatant attempt to

  eliminate Amendment 1 of the Constitution of the United States, thus giving themselves freedom

  to support actions that are above the law. Either the Constitution is the controlling legal

  authority of this case, or the case of Wyoming is because the two are in direct conflict and

  violation of each other. If this court rules in favor of Defendants, then this court by its own

  action will be making a new supreme law of the land-a direct and bold violation of this court's

  sworn duty to protect and defend the Constitution and a violation of the separation of powers.

             Also, Defendants citing of the case of James v. Unites States is another blatant audacious

  bold attempt to eliminate Amendment 1 of the Constitution in order to give freedom to the

  defendants to support actions that are above the law. Once again, either the Constitution is the

  controlling legal authority of this case, or the case of James is because the two are in direct

  8
      See paragraph 3 of the complaint.


                                                       5

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   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 6 of 9 PageID 123
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 44



  conflict and violation of each other. If this Court rules in favor of Defendants, then this court, by

  its own action will be making a new supreme law of the land (because this case is of first

  impression)-a direct and bold violation of this court's sworn oath to support and defend the

  Constitution and a violation of the separation of powers.

         This Court may not agree with the First Amendment in relation to the Defendants being

  Supreme Court Justices. And this court may not agree that Brunson has the right to petition the

  government for a redress of grievances against these Defendants. When the Defendants are

  accused of breaching their oath of office and claim that they are too important to be trifled with

  because they have entitlement above the law, Brunson recognizes that this court must make a

  choice. Either choose to rewrite the Constitution by making Defendants an exception, or trust

  that the Constitution was written by inspired men, who inspired this court to swear an oath to

  defend and support this sacred document.

         Once again, Defendants argue that the Tucker Act and 28 U.S.C. § 1491(a)(l) & §

  1346(a)(2) is the new and revised supreme law of the land, and that Brunson cannot readily seek

  a redress of grievances against Defendants' violation of their oath of office with damages in

  excess of $3 billion dollars, and as such the Defendants' intention it to move this court to make a

  new supreme law of the land by ruling in their favor.

             DEFENDANTS' MOTION FAILS TO ADDRESS THE COMPLAINT

         Defendants do not argue against or address the fact that Brunson's complaint alleges that

  Amendment I of the United States Constitution states that Congress shall make no law

  prohibiting Bronson's right to petition the Government for redress of grievances, and that the

  Government is first subject to Bronson's rights, and that the Constitution grants no rights to the

  people. Bronson's individual rights are guarded and protected by the Constitution. And,



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   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 7 of 9 PageID 124
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 45



  pursuant to Amendment IX of the Constitution, no law of any kind can be enacted that would

  violate Brunson's individual rights which is guarded be the supreme law of the land, and that the

  Constitution is a restriction against the Government and not against Brunson's rights. See pages

  1-5 ofBrunson's complaint. Defendant's Motion admits this as being true.

           Embedded in the Constitution is the oath of office. The Defendants have freely taken

  upon themselves a sworn duty to protect Brunson' s rights. This is a contract that they made to

  Brunson-it's a serious one, and a breach of this contract brings serious consequences that are

  NOT protected in the law and can bring the removal from office. See~ 21-27 ofBrunson's

  complaint.

           Noting that the Constitution is the supreme law of the land and that this court is bound by

  it, does not and cannot protect acts of treason which is also an act of fraud and fraud vitiates

  everything. 9 Therefore, because Brunson has alleged acts of treason and fraud against

  Defendants, Defendants must answer Brunson' s complaint as a matter of law.

           Also taking note that "So help me God" are the last words found in the oath of office to

  which all the Defendants swore by, they have sworn to God. To those individuals who violate

  their oaths, Isaiah of the old testament has stated that "Therefore as the fire devoureth the

  stubble, and the flame consumeth the chaff, so their root shall be as rottenness, and their blossom

  shall go up as dust: because they have cast away the law of the LORD of hosts, and despised the

  word of the Holy One oflsrael." See Isaiah 5:24. The "law of the Lord" as defined by Bible

  scholars is the Constitution. See page 5 of the complaint. "Therefore hell hath enlarged herself,


  9
    "Our courts have consistently held that fraud vitiates whatever it touches, }.{orris v. House, 32 Tex. 492 (1870)".
  Estate of Stonecipher v. Estate ofButts, 591 SW 2d 806. And ""It is a stem but just maxim oflaw that fraud vitiates
  everytlring into which it enters." Veterans Sen1ice Club v. Sweeney, 252 S. W.2d 25, 27 (Ky.1952)." Radioshack
  Corp. v. ComSmart, Inc., 222 SW 3d 256.
  Vitiate; "To impair or make void; to destroy or annul, eitl1er completely or partially, tl1e force and effect of an act or
  instrument." West's Encyclopedia of American Law, edition 2.


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   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 8 of 9 PageID 125
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 46



  and opened her mouth without measure: and their glory, and their multitude, and their pomp, and

  he that rejoiceth, shall descend into it." Isaiah 5: 14. This decree is set in place regardless of

  whether or not Defendants believe it.

            Isaiah prophesied several things that pertain to us in modern times. He prophesied the

  birth of Jesus Christ, and then he prophesied something that had never before been revealed since

  the creation of the world; the Constitution-a law to guide how a government is to be.

            When Isaiah prophesied the coming forth of the Constitution, he also warned of serious

  consequences that follow (as stated above) when the Constitution is violated.

            Because it was prophesied that the Constitution would come forth, and is the law of the

  Lord, then it's fitting and has bearing that the scriptures oflsaiah are cited and used herein.

            It seems to be the practice of many courts under the doctrine of equitable maxim to shut

  its door against arguments it chooses not to address. In so doing it violates the doctrine of the

  object principle of justice which is couched in the Constitution. 10 Should that be the position of

  this court in this matter, its these types of rulings that lead to the revolution in 1776 11 .

            WHERFORE, in the name of justice, and in the name of" We the People" and as an act to

  preserve, defend and protect the Constitution Brunson moves this court to deny Defendants'

  Motion with an order to answer Bronson's complaint within 10 days or be in default.



            Humbly submitted this the 15th day of May, 2023.




  10
       See petition under docket No. 18-1147 of SCOTUS.
  11
       See amicus brief under docket No. 22-1028 of SCOTUS.


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                                                                                                           r
   Case 1:23-cv-00042-HCN Document 14 Filed 05/15/23 Page 9 of 9 PageID 126
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 47



                                    CERTIFICATE OF SERVICE
                               th
  I hereby certify that on the 15 day of May, 2023 I personally placed in the United States Mail to
  the individuals named below a true and correct copy of OPPOSITION TO MOTION TO
  DISMISS FOR LACK OF SUBJECT-MATTER JURISDICTION.

  TRINA A. HIGGINS
  AMANDA A. BERNDT
  Attorneys of the United States of America
  111 South Main Street, Suite 1800
  Salt Lake City, Utah 84111




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   Case 1:23-cv-00042-HCN Document 16 Filed 05/30/23 Page 1 of 5 PageID 129
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 48




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                               UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH

  RALAND J. BRUNSON,
                                                        REPLY IN SUPPORT OF MOTION
                          Plaintiff,                    TO DISMISS FOR LACK OF
                                                        SUBJECT-MATTER JURISDICTION
        v.

  SONIA SOTOMAYOR, ELENA KAGAN,                         Case No. 1:23-cv-00042-HCN-JCB
  KETANJI BROWN JACKSON, JOHN
  and JANE DOES 1–100,                                  Judge Howard C. Nielson
                                                        Magistrate Judge Jared C. Bennett
                          Defendants.

                                           INTRODUCTION

        Plaintiff Raland J. Brunson initiated this action in state court against defendants Sonia

 Sotomayor, Elena Kagan, and Ketanji Brown Jackson (collectively “Defendants”) in their

 official capacities as Associate Justices of the United States Supreme Court.1 The complaint

 alleges that Defendants violated their oaths of office by refusing to grant Brunson’s writ of

 certiorari and that he is therefore entitled to an award of over $3 billion for breach of contract,

 intentional infliction of emotional distress, and fraud.2


    1
        See Compl. (Docket No. 1-1).
    2
        Id.




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   Case 1:23-cv-00042-HCN Document 16 Filed 05/30/23 Page 2 of 5 PageID 130
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 49




        The case was removed to this Court under 28 U.S.C. § 1442(a)(3) on April 13, 2023.3

 Defendants then moved to dismiss.4

                                             ARGUMENT

        In response, Brunson does not address the only issue raised by the motion to dismiss:

 whether the derivative-jurisdiction doctrine prohibits this Court from acquiring jurisdiction over

 this matter if the state court lacked jurisdiction. As set out in the opening brief, the only waivers

 of sovereign immunity that could possibly govern Brunson’s claims—the Tucker Act5 and the

 Federal Tort Claims Act6—limit jurisdiction to federal courts, not state courts.7 The state court

 thus lacked jurisdiction over his claims, and this Court acquired no jurisdiction upon removal.

        Rather than meeting his burden by identifying an applicable waiver of sovereign

 immunity, Brunson attacks the sovereign immunity of the federal government and these

 Defendants. Specifically, Brunson appears to argue that the doctrine of sovereign immunity itself

 is unconstitutional because it interferes with his right to petition the government for a redress of

 grievances.8 This argument is unavailing.

        The First Amendment protects a person’s right to petition the government.9 This right—

 in tandem with the due-process clauses of the Fifth and Fourteenth Amendments—further



    3
        Notice of Removal (Docket No. 1).
    4
        Mot. to Dismiss (Docket No. 7).
    5
        28 U.S.C. § 1491(a)(1).
    6
        28 U.S.C §§ 1346(b), 2671–79.
    7
        See Mot. to Dismiss at 3–5.
    8
        Opp. Br. at 2–6.
    9
        U.S. CONST. amend. I.

                                                     2


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   Case 1:23-cv-00042-HCN Document 16 Filed 05/30/23 Page 3 of 5 PageID 131
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 50




 protects a person’s right to access the courts.10 But neither of these rights is absolute. As courts

 have repeatedly held, the right to petition one’s government for a redress of grievances does not

 include a right to a response.11 Similarly, the right to access the courts does not include a right to

 pursue any claim against any defendant, without regard to the merit of those claims.12

         Brunson also fails to point this Court to any authority supporting his argument. This is no

 doubt because no court has ever held that the doctrine of sovereign immunity conflicts with the

 First Amendment or the Constitution more generally. Indeed, it is broadly understood that the

 doctrine of sovereign immunity was foundational for the framers of the Constitution.13 As the

 Supreme Court has explained, “the doctrine that a sovereign could not be sued without its



    10
        Silver v. Cormier, 529 F.2d 161, 163 (10th Cir. 1976); see also Valdez v. Roybal, 186 F.
 Supp. 3d 1197, 1235–36 (D.N.M. 2016).
    11
         E.g., Minnesota State Bd. for Community Colleges v. Knight, 465 U.S. 271, 283–85
 (1984) (“The Constitution does not grant to members of the public generally a right to be heard
 by public bodies making decisions of policy . . . . Absent statutory restrictions, the State must be
 free to consult or not to consult whomever it pleases.”); We the People Found., Inc. v. United
 States, 485 F.3d 140, 144–45 (D.C. Cir. 2007) (upholding dismissal of complaint alleging that
 the First Amendment was violated when both the executive and legislative branches failed to
 acknowledge plaintiff’s petitions challenging the government’s authority to levy taxes); United
 States v. Vital Health Prods., Ltd., 786 F. Supp. 761, 778–79 (E.D. Wis. 1992) (a plaintiff may
 “petition the government for any redress of grievances to his heart’s content,” but that right
 “does not preclude the government from moving to dismiss any groundless causes of action he
 may present.”).
    12
         See Tripati v. Beaman, 878 F.2d 351, 353 (10th Cir. 1989) (“[The] right of access to the
 courts is neither absolute nor unconditional, and there is no constitutional right of access to the
 courts to prosecute an action that is frivolous or malicious.”) (internal citation omitted); see also
 Montesano v. New York, No. 05 CV 9574, 2006 WL 944285, *3 (S.D.N.Y. Apr. 12, 2006)
 (unpublished) (the right to sue in court . . . does not afford the party the right to obtain a
 particular result.” (citing Catellano v. City of New York, 142 F.3d 58, 74 (2nd Cir. 1998)).
    13
        See Alden v. Maine, 527 U.S. 706, 715–16 (1999) (discussing the historical context
 surrounding the doctrine of sovereign immunity in holding that the Constitution prohibits
 Congress from abrogating the sovereign immunity of states).

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   Case 1:23-cv-00042-HCN Document 16 Filed 05/30/23 Page 4 of 5 PageID 132
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 51




 consent was universal in the States when the Constitution was drafted and ratified.”14 To suggest

 that the framers intended to trample on this centuries-old doctrine when drafting and ratifying the

 Constitution is simply ahistorical.

         Finally, it’s worth noting that the logical end to Brunson’s argument—that no limits can

 be placed on how, where, or why government agencies and officials can be sued—would upend

 our entire system of justice.

                                          CONCLUSION

         For the foregoing reasons, and those stated in Defendants’ Motion to Dismiss,

 Defendants requests that this action be dismissed without prejudice pursuant to FED. R. CIV. P.

 12(b)(1).

         Dated this 30th day of May, 2023.

                                                  TRINA A. HIGGINS
                                                  United States Attorney

                                                  /s/ Amanda A. Berndt
                                                  AMANDA A. BERNDT
                                                  Assistant United States Attorney




    14
         Id.

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   Case 1:23-cv-00042-HCN Document 16 Filed 05/30/23 Page 5 of 5 PageID 133
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 52




                                  CERTIFICATE OF SERVICE

        The undersigned employee of the United States Attorney’s Office hereby certifies that

 on May 30, 2023, the following document:

        Reply in Support of Motion to Dismiss for Lack of Subject-Matter Jurisdiction

 was served by U.S. Mail and electronic mail to the following individual:

        Raland J. Brunson
        4287 South Harrison Boulevard, #132
        Ogden, Utah 84403
        thedreamofthecentury@gmail.com


                                                 /s/ Amanda A. Berndt
                                                 AMANDA A. BERNDT
                                                 Assistant United States Attorney




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   Case 1:23-cv-00042-HCN Document 18 Filed 07/07/23 Page 1 of 7 PageID 139
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 53




                             THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH


     RALAND J. BRUNSON,                                REPORT AND RECOMMENDATION

                    Plaintiff,

     v.                                                  Case No. 1:23-cv-00042-HCN-JCB

     SONIA SOTOMAYOR, ELENA KAGAN,
     KETANJI BROWN JACKSON, and
     JOHN and JANE DOES 1-100,                          District Judge Howard C. Nielson, Jr.

                    Defendants.                          Magistrate Judge Jared C. Bennett


          This case was referred to Magistrate Judge Jared C. Bennett under 28 U.S.C.

 § 636(b)(1)(B). 1 Before the court is Defendants Sonia Sotomayor, Elena Kagan, and Ketanji

 Brown Jackson’s (collectively, “Defendants”) motion to dismiss.2 Based upon the analysis set

 forth below, the court recommends granting Defendants’ motion and dismissing this case without

 prejudice for lack of subject-matter jurisdiction.

                                            BACKGROUND

          Pro se Plaintiff Raland J. Brunson (“Mr. Brunson”) filed his complaint in this case in

 Second District Court in Weber County, Utah. 3 Defendants removed the case to this court under

 28 U.S.C. § 1442(a)(3). 4 Mr. Brunson’s complaint is centered on the United States Supreme


 1
     ECF No. 6.
 2
     ECF No. 7.
 3
     ECF No. 1-1.
 4
     ECF No. 1.




                                                                                                   53
   Case 1:23-cv-00042-HCN Document 18 Filed 07/07/23 Page 2 of 7 PageID 140
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 54




 Court’s denial of his petition for writ of certiorari and petition for rehearing in a separate case. 5

 Mr. Brunson’s complaint names Defendants in their official capacities as Associate Justices of

 the United States Supreme Court and asserts causes of action for breach of contract, intentional

 infliction of emotional distress, fraud, and civil conspiracy. In his prayer for relief, Mr. Brunson

 seeks over $3 billion in damages. Defendants moved to dismiss this case for lack of

 subject-matter jurisdiction. 6

                                           LEGAL STANDARDS

           Under Fed. R. Civ. P. 12(b)(1), this court should “presume no jurisdiction exists,” 7 and

 the burden of establishing jurisdiction “rests upon the party asserting jurisdiction.” 8 To establish

 jurisdiction, a plaintiff “must allege in [his] pleading the facts essential to show jurisdiction, and

 must support [those facts] by competent proof.” 9 Because Defendants’ motion to dismiss is a

 facial attack on the allegations of Mr. Brunson’s complaint, the court must accept those

 allegations as true. 10

                                                ANALYSIS

           The court recommends granting Defendants’ motion to dismiss because the court lacks

 subject-matter jurisdiction under the doctrine of derivative jurisdiction, which provides that upon

 removal, a federal court cannot acquire subject-matter jurisdiction over a case if the state court


 5
     Brunson v. Adams, 143 S. Ct. 569, reh’g denied, 143 S. Ct. 855 (2023).
 6
     ECF No. 7.
 7
     United States ex rel. Precision Co. v. Koch Indus., Inc., 971 F.2d 548, 551 (10th Cir. 1992).
 8
     Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
 9
  Koch Indus., Inc., 971 F.2d at 551 (second alteration in original) (quotations and citations
 omitted).
 10
      Holt v. United States, 46 F.3d 1000, 1002 (10th Cir. 1995) (citations omitted).

                                                    2


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   Case 1:23-cv-00042-HCN Document 18 Filed 07/07/23 Page 3 of 7 PageID 141
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 55




 lacked subject-matter jurisdiction. 11 That doctrine applies even if the federal court would have

 had subject-matter jurisdiction over the case if the case had been brought initially in federal

 court. 12 Although Congress amended 28 U.S.C. § 1441 to eliminate the doctrine of derivative

 jurisdiction with respect to removals under that section, 13 the doctrine remains applicable to

 removals under 28 U.S.C. § 1442, 14 which is the section Defendants relied upon to remove this

 case. Therefore, the doctrine of derivative jurisdiction applies here.

           Under the doctrine of derivative jurisdiction, this court lacks subject-matter jurisdiction

 for two reasons. First, because Mr. Brunson has not identified any waiver of sovereign immunity

 that subjects Defendants to suit in state court, the state court did not have subject-matter

 jurisdiction. Thus, this court lacks subject-matter jurisdiction under the doctrine of derivative

 jurisdiction. Second, even if Mr. Brunson had relied upon the statutory schemes providing a



 11
   Minnesota v. United States, 305 U.S. 382, 389 (1939) (“[J]urisdiction of the federal court on
 removal is, in a limited sense, a derivative jurisdiction. Where the state court lacks jurisdiction of
 the subject matter or of the parties, the federal court acquires none . . . .”); Crow v. Wyo. Timber
 Prods. Co., 424 F.2d 93, 96 (10th Cir. 1970) (“Jurisdiction on removal is derivative in nature and
 does not exist if the state court from which the action is removed lacks jurisdiction.”).
 12
    Arizona v. Manypenny, 451 U.S. 232, 242 n.17 (1981) (“In the area of general civil removals,
 it is well settled that if the state court lacks jurisdiction over the subject matter or the parties, the
 federal court acquires none upon removal, even though the federal court would have had
 jurisdiction if the suit had originated there.”); see also Minnesota, 305 U.S. at 388-89 (providing
 that “it rests with Congress to determine not only whether the United States may be sued, but in
 what courts the suit may be brought” and that the doctrine of derivative jurisdiction applies even
 if the federal court would have had subject-matter jurisdiction over a case if the case was brought
 originally in federal court).
 13
      28 U.S.C. § 1441(f).
 14
   Bowers v. J & M Disc. Towing, LLC, 472 F. Supp. 2d 1248, 1254 (D.N.M. 2006) (“[T]he
 majority of the Circuit Courts of Appeals that have addressed this issue, including the Tenth
 Circuit, have determined that federal courts’ jurisdiction remains derivative of state courts’
 jurisdiction for those cases removed under statutes other than 28 U.S.C. § 1441.”).

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   Case 1:23-cv-00042-HCN Document 18 Filed 07/07/23 Page 4 of 7 PageID 142
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 56




 waiver of sovereign immunity for his claims, the state court still lacked subject-matter

 jurisdiction. Consequently, this court does not have subject-matter jurisdiction under the doctrine

 of derivative jurisdiction. Each reason is discussed in order below.

      I.   Because Mr. Brunson Has Not Identified a Waiver of Sovereign Immunity to Sue
           Defendants in State Court, the State Court Lacked Subject-Matter Jurisdiction.

           Because Mr. Brunson fails to carry his burden of establishing a waiver of sovereign

 immunity to bring suit against Defendants in state court, the state court did not have

 subject-matter jurisdiction. “Sovereign immunity generally shields the United States, its

 agencies, and officers acting in their official capacity from suit.” 15 The party bringing suit against

 United States officials bears the burden of proving that a waiver of sovereign immunity exists. 16

 Without a waiver of sovereign immunity, a court lacks subject-matter jurisdiction over a case

 brought against United States officials. 17

           Mr. Brunson sued Defendants in their official capacities as United States officers, but he

 fails to identify any waiver of sovereign immunity. 18 Additionally, Mr. Brunson fails to identify


 15
   Wyoming v. United States, 279 F.3d 1214, 1225 (10th Cir. 2002) (citing Fed. Deposit Ins.
 Corp. v. Meyer, 510 U.S. 471, 475 (1994)).
 16
      James v. United States, 970 F.2d 750, 753 (10th Cir. 1992).
 17
   United States v. Mitchell, 463 U.S. 206, 212 (1983) (“It is axiomatic that the United States may
 not be sued without its consent and that the existence of consent is a prerequisite for
 jurisdiction.”).
 18
    In his response to Defendants’ motion to dismiss, Mr. Brunson does not argue that there is a
 waiver of sovereign immunity for his claims. Instead, Mr. Brunson appears to argue that the
 doctrine of sovereign immunity is unconstitutional because it obstructs his right to petition the
 government for redress of grievances under the First Amendment. Importantly, Mr. Brunson fails
 to cite any authority for his argument, and the court is unaware of any court holding that the
 doctrine of sovereign immunity is unconstitutional. To the contrary, as noted by Defendants, the
 doctrine of sovereign immunity was a foundational concept to the framers of the Constitution.
 Alden v. Maine, 527 U.S. 706, 715-16 (1999) (discussing the historical context of the doctrine of

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   Case 1:23-cv-00042-HCN Document 18 Filed 07/07/23 Page 5 of 7 PageID 143
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 57




 any statute that authorizes suit in state court against United States officials. Mr. Brunson’s failure

 to establish a waiver of sovereign immunity that authorizes suit against Defendants in their

 official capacities and allows that suit to proceed in state court means that the state court did not

 have subject-matter jurisdiction. Accordingly, this court’s derivative jurisdiction precludes it

 from hearing this case. 19

  II.    Even if Mr. Brunson Had Attempted to Rely Upon the Statutory Schemes Providing
         a Waiver of Sovereign Immunity for His Claims, the State Court Still Lacked
         Subject-Matter Jurisdiction.

         The state court still lacked subject-matter jurisdiction even if Mr. Brunson had attempted

 to rely upon the statutory schemes providing a waiver of sovereign immunity for his claims. The

 only two conceivable schemes upon which Mr. Brunson could have relied are: (1) the Tucker

 Act, which addresses contract actions against the United States; and (2) the Federal Tort Claims

 Act (“FTCA”), which deals with tort claims against United States employees. As shown below,

 neither scheme would give the state court subject-matter jurisdiction.

         First, Mr. Brunson’s claim for breach of contract is governed by the Tucker Act, which

 waives sovereign immunity and grants the Court of Federal Claims—not state courts—exclusive



 sovereign immunity and stating that “the doctrine that a sovereign could not be sued without its
 consent was universal in the States when the Constitution was drafted and ratified”). Therefore,
 Mr. Brunson’s argument is without merit.
 19
   Despite Defendants’ well-taken argument that this court lacks subject-matter jurisdiction, Mr.
 Brunson argues that Defendants improperly failed to address the merits of his complaint and
 speculates that this court will do the same. That argument and speculation ignores the concept of
 subject-matter jurisdiction. By arguing that this court lacks subject-matter jurisdiction,
 Defendants are necessarily arguing that this court should not reach the merits of Mr. Brunson’s
 claims. Further, because this court agrees with Defendants’ argument concerning subject-matter
 jurisdiction, this court cannot address the merits of Mr. Brunson’s claims. Ruhrgas AG v.
 Marathon Oil Co., 526 U.S. 574, 583 (1999) (“Article III generally requires a federal court to
 satisfy itself of its jurisdiction over the subject matter before it considers the merits of a case.”).

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   Case 1:23-cv-00042-HCN Document 18 Filed 07/07/23 Page 6 of 7 PageID 144
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 58




 jurisdiction “for claims against the United States founded upon . . . contracts and seeking

 amounts greater than $10,000.” 20 Because Mr. Brunson is seeking over $3 billion in damages,

 the Court of Federal Claims has exclusive jurisdiction over his claim for breach of contract.

 Thus, even if Mr. Brunson had relied upon the Tucker Act, the state court did not have

 subject-matter jurisdiction over that claim, which, by virtue of derivative jurisdiction, means that

 this court doesn’t either.

           Second, Mr. Brunson’s remaining tort claims for intentional infliction of emotional

 distress, fraud, and civil conspiracy are potentially governed by the FTCA, which provides a

 limited waiver of sovereign immunity for a plaintiff to recover monetary damages for specific

 common-law torts committed by United States employees acting within the scope of their

 employment. 21 However, the FTCA’s limited waiver of sovereign immunity allows FTCA claims

 to be brought exclusively in federal court, 22 which means that, even if Mr. Brunson had relied

 upon the FTCA, the state court lacked subject-matter jurisdiction. And, therefore, so does this

 court under the doctrine of derivative jurisdiction. Therefore, this case should be dismissed

 without prejudice for want of subject-matter jurisdiction. 23



 20
   Burkins v. United States, 112 F.3d 444, 449 (10th Cir. 1997); see also 28 U.S.C. §§ 1346(a)(2),
 1491(a)(1).
 21
      28 U.S.C. § 2679(b)(1); Meyer, 510 U.S. at 475-76.
 22
      28 U.S.C. § 1346(b)(1).
 23
    The court acknowledges the hundreds of letters it received from citizens urging this court to
 overlook jurisdictional defects and to decide this case on its merits. However, courts must abide
 by the law. And the law provides that a federal court that receives a case removed from state
 court is subject to the same jurisdictional limitations that applied to the state court. Because the
 state court could not exercise subject-matter jurisdiction to hear this case, this court cannot either
 regardless of how many concerned citizens want this court to decide the merits of the case.

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   Case 1:23-cv-00042-HCN Document 18 Filed 07/07/23 Page 7 of 7 PageID 145
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 59




                                   CONCLUSION AND RECOMMENDATION

           As demonstrated above, the state court did not have subject-matter jurisdiction over this

 case, and, thus, this court lacks subject-matter jurisdiction under the doctrine of derivative

 jurisdiction. Therefore, the court HEREBY RECOMMENDS that Defendants’ motion to

 dismiss 24 be GRANTED and that this case be DISMISSED WITHOUT PREJUDICE for lack of

 subject-matter jurisdiction. 25

           Copies of this Report and Recommendation are being sent to all parties, who are hereby

 notified of their right to object. 26 The parties must file any objections to this Report and

 Recommendation within 14 days after being served with a copy of it. 27 Failure to object may

 constitute waiver of objections upon subsequent review.

           DATED this 7th day of July 2023.

                                                 BY THE COURT:




                                                 JARED C. BENNETT
                                                 United States Magistrate Judge




 24
      ECF No. 7.
 25
   Brereton v. Bountiful City Corp., 434 F.3d 1213, 1216 (10th Cir. 2006) (“A longstanding line
 of cases from this circuit holds that where the district court dismisses an action for lack of
 jurisdiction, . . . the dismissal must be without prejudice.”).
 26
      28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2).
 27
      28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2).

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   Case 1:23-cv-00042-HCN Document 22 Filed 07/17/23 Page 1 of 8 PageID 147
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 60



  Raland J Brunson                                                     FILED IN UNITED STATES DISTRICT
                                                                           COURT, DISTRICT OF UTAH
  4287 South Harrison Blvd., #132
  Ogden, Utah 84403                                                              JUL 17 2023
  Phone: 385-492-4898
                                                                                  GNff P. SERDAR
  Email: thedreamofthecentury@gmail.com                                           CLERK OF COURT
  Pro Se                                                                 BY--~===---
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                                UNITED STATES DISTRICT COURT
                                         DISTRICT OF UTAH

  RALAND JBRUNSON,                                         OBJECTION TO REPORT AND
                                                              RECOMMENDATION
                  Plaintiff,
                                                     Case No. 1:23-cv-00042-HCN-JCB
                vs.
                                                     Judge: Howard C. Nielsen
  SONIA SOTOMAYOR, et al.,                           Magistrate Judge: Jared C. Bennett

                      Defendants.

            Plaintiff Raland J Brunson ("Brunson") hereby moves this court with his Objection To

  Report And Recommendation Submitted by the honorable Magistrate Judge Jared C. Bennett and

  states:

                                              ARGUMENT

            Brunson, based upon the following grounds, hereby objects to the REPORT AND

  RECOMMENDATION ("R&R") filed by the Magistrate Judge Jared C. Bennett on July 7, 2023

  (ECF 18).

            The R&R states that this court lacks subject matter jurisdiction and that Brunson failed to

  identify a waiver of sovereign immunity.

            The importance of this case is extreme. Bronson's opposition states with legal authority

  that his right to bring his claims against Defendants invokes subject matter jurisdiction because

  the claims exposes acts of treason upon which immunity is not given, nor would it be



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   Case 1:23-cv-00042-HCN Document 22 Filed 07/17/23 Page 2 of 8 PageID 148
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 61



  constitutional if it were. There is no immunity given for giving aid and comfort to enemies of

  the United States, which is treason. The Constitution was not written to protect treason by giving

  any immunity to any governmental position of any level at all. So in this case the Defendants

  cannot claim to have any immunity. See the whole of Bronson's opposition.

          On footnote 23 of the R&R, it makes the claim that they've received hundreds of letters.

  Closer to the truth is that the court has received over 9,719 letters from across the country as of

  July 17, 2023. We the People are requiring the Defendants to answer the claims of this case

  because they know that the Defendants do not have any immunity under Bronson's claims, and

  they want to see justice served.

          Again, the R&R states that this court lacks subject matter jurisdiction and that Brunson

  failed to identify a waiver of sovereign immunity. In support of this argument the R&R cites the

  cases of, but not limited to, Wyoming, James, United States, Minnesota, Crow, Arizona, Bowers,

  Kokkonen, Koch, Holt, and the R&R also cites 28 U.S.C. § 1441 & 1442. Brunson objects to

  these citations and arguments because to apply them in Bronson's case, which have no bearing

  under Bronson's claims, is an attempt to rewrite the Constitution which is an act of treason.

          The R&R sets out to destroy the importance and the divinity associated with the oath of

  office found in Bronson's opposition. Despite the fact that the oath is the supreme law of the

  land, it is the edict of the R&R that the oath is subject to this court, and that it is this court that is

  the supreme law of the land, not the oath.

          The R&R did not address Bronson's oath of office argument nor that our founding fathers

  incorporated themselves as "We the People" in order to establish a government away from the

  doctrine that a king that can do no wrong by having no king at all-no king, no sovereign

  immunity-this is the Constitution of the United States! What the R&R did state is that pursuant



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   Case 1:23-cv-00042-HCN Document 22 Filed 07/17/23 Page 3 of 8 PageID 149
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 62



  to the case of Alden v. Main, 527 U.S, 706, 715-16 (1999) that the doctrine of sovereign

  immunity was a foundational concept from the framers of the Constitution. This "foundational

  concept", as R&R puts it, has a different meaning than what R&R coins them to be. The case of

  Alden explains further that "If a colonial lawyer had looked into Blackstone for the theory of

  sovereign immunity, as indeed many did, he would have found nothing clearly suggesting that

  the Colonies as such enjoyed any immunity from suit." And that ""The Constitution thus

  contemplates that a State's government will represent and remain accountable to its own

  citizens." Printz, 521 U.S., at 920" (751) and "Justice Wilson's position in Chisholm: that

  because the people, and not the States, are sovereign, sovereign immunity has no applicability to

  the States." [778] and '"'To the Constitution of the United States the term SOVEREIGN, is

  totally unknown. There is but one place where it could have been used with propriety. But, even

  in that place it would not, perhaps, have comported with the delicacy of those, who ordained and

  established that Constitution. They might have announced themselves 'SOVEREIGN' people of

  the United States: But serenely conscious of the fact, they avoided the ostentatious declaration."

  2 Dall., at 454. [783] ... "This last position [that the King is sovereign and no court can have

  jurisdiction over him] is only a branch of a much more extensive principle, on which a plan of

  systematic despotism has been lately formed in Eng- land, and prosecuted with unwearied

  assiduity and care. Of this plan the author of the Commentaries was, if not the introducer, at least

  the great supporter. He has been followed in it by writers later and less known; and his doctrines

  have, both on the other and this side of the Atlantic, been implicitly and generally received by

  those, who neither examined their principles nor their consequences[.] The principle is, that all

  human law must be prescribed by a superior. This principle I mean not now to examine. Suffice

  it, at present to say, that another principle, very different in its nature and operations, forms, in



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   Case 1:23-cv-00042-HCN Document 22 Filed 07/17/23 Page 4 of 8 PageID 150
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 63



  my judgment, the basis of sound and genuine jurisprudence; laws derived from the pure source

  of equality and justice must be founded on the CONSENT of those, whose obedience they

  require. The sovereign, when traced to his source, must be found in the man." Id., at 458.""

  [784] (brackets added to show page numbers)

         Alden also stated that " ... petition of right as an appropriate and normal practice. [791] .

  . . "there was no unanimity among the Framers that immunity would exist," [793] ... It would

  be hard to imagine anything more inimical to the republican conception, which rests on the

  understanding of its citizens precisely that the government is not above them, but of them, its

  actions being governed by law just like their own. Whatever justification there may be for an

  American government's immunity from private suit, it is not dignity. [35] See United States v.

  Lee, 106 U.S. 196,208 (1882). [803] ... "If an act of parliament be made for the benefit of any

  person, and he is hindered by another of that benefit, by necessary consequence of law he shall

  have an action; and the current of all the books is so" (citation ornitted).[41] *812 Blackstone

  considered it "a general and indisputable rule, that where there is a legal right, there is also a

  legal remedy, by suit or action at law, whenever that right is invaded." 3 Blackstone. The

  generation of the Framers thought the principle so crucial that several States put it into their

  constitutions.[42] And when Chief Justice Marshall asked about Marbury: "If he has a right, and

  that right has been violated, do the laws of his country afford him a remedy?," Marbury v.

  Madison, 1 Cranch 137, 162 (1803), the question was rhetorical, and the answer clear: "The very

  essence of civil liberty certainly consists in the right of every individual to claim the protection

  of the laws, whenever he receives an injury. One of the first duties of government is to afford

  that protection. In Great Britain the king himself is sued in the respectful form of a petition, and




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   Case 1:23-cv-00042-HCN Document 22 Filed 07/17/23 Page 5 of 8 PageID 151
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 64



  he never fails to comply with the judgment of his court." Id., at 163"" [812]. (Brackets added to

  show page numbers)

           So R&R's claim that the foundational concept of sovereign immunity of our founders as

  being favorable for Defendants is wholly inaccurate and as such grants Bronson's opposition,

  therefore Brunson moves this court to disregard the R&R and deny Defendants motion to

  dismiss.

           The R&R states that Brunson failed to incorporate any authority supporting his claim that

  his right to petition the government for redress of grievances under the First Amendment. In

  addition to this being wholly inaccurate, the R&R cited authority which actually supports

  Bronson's opposition, that being the case of Alden, as stated above. Again, this favors Brunson

  to which the R&R purposely ignored and would not address. This is more than just a violation

  of due process, which is the right to be heard 1, rather its supports acts of treason.

           The R&R also went on to state that Brunson failed to cite any authority supporting his

  claim that the doctrine of sovereign immunity is unconstitutional and that the court is unaware of

  any. The R&R ignored all the legal authorities cited by Brunson that are paramount to

  Bronson's argument in opposition and how under this case the doctrine of sovereign immunity is

  unconstitutional and cannot be applied. The legal authority cited by Brunson include those under

  the Constitution: Article I Section 9 Clause 8, Article VI, Article III, Amendments 1, IX, and

  XIV Section 3, in addition to the cases of American Bush v. City Of South Salt Lake, 2006 UT 40

  140 P.3d.1235, and New York State Rifle & Pistol Association, Inc., et al. v. Bruen, et al., 597 U.

  S. _ _ (2022), and [Puerto Rico v Brandstad, Governor ofIowa (1987) 483 U.S. 219,228, 107

  S.Ct. 2802, 97 L.Ed.2d 187]. These are just some of the authorities that the R&R ignored.

  1 "(" ... an opportunity to be heard in a meaningful way are at the very heart of procedural fairness ... ")" Brent

  Brown Dealerships v. Tax Com'n, MVED, 2006 UT App 261.


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   Case 1:23-cv-00042-HCN Document 22 Filed 07/17/23 Page 6 of 8 PageID 152
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 65



          Why didn't the R&R specifically address these authorities and point out how they are

  wrong? They are wrong because the R&R states so?

          As stated in Bronson's opposition, Bronson's causes of actions are derived from the oath

  of office of the Constitution of the United States, and Bronson's complaint alleges that

  Amendment I of the Constitution states that Congress shall make no law prohibiting Bronson's

  right to petition the Government for redress of grievances. And that the Government is first

  subject to Bronson's rights, and that the Constitution grants no rights to the people, instead

  Bronson's individual rights are guarded and protected by the Constitution. And, pursuant to

  Amendment IX of the Constitution, no law of any kind can be enacted that would violate

  Bronson's individual rights which is the supreme law of the land, and that the Constitution is a

  restriction against the Government and not against Bronson's rights. See pages 1-5 of Bronson's

  complaint. The case of Alden supports this while the R&R has decided otherwise in violation of

  the oath of office.

          Bronson's claims supersede the necessity of requiring a waiver of sovereign immunity

  and inherently invokes subject matter jurisdiction under the supreme law of the land as cited by

  legal authority found in Bronson's opposition. Again, the R&R did not address how that this is

  wrong only that it says it is.

          WHERFORE, in the name of justice and of due process, and in the name of "We the

  People" and as an act to preserve, defend and protect the Constitution in honor of the oath of

  office, which was inspired by God, Brunson moves this court to deny both the R&R and

  Defendants' Motion with an order to answer Brunson' s complaint within 10 days or be in

  default.




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   Case 1:23-cv-00042-HCN Document 22 Filed 07/17/23 Page 7 of 8 PageID 153
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 66


         Humbly submitted this the 17th day of July, 2023.




                                  CERTIFICATE OF SERVICE

  I hereby certify that on the 17th day of July, 2023 I personally placed in the United States Mail to
  the individuals named below a true and correct copy of OBJECTION TO REPORT AND
  RECOMMENDATION.

  TRINA A. HIGGINS
  AMANDA A. BERNDT
  Attorneys of the United States of America
  111 South Main Street, Suite 1800
  Salt Lake City, Utah 84111




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                                                                                                                                      U.S. District Court .
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Appellate Case: 23-4108       Document: 010110918352              Date Filed: 09/13/2023      Page: 68

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   WARNING: CASE CLOSED on 08/10/2023
   Document Number: 23(No document attached)
   Docket Text:
    DOCKET TEXT ORDER. On July 7, 2023, Magistrate Judge Bennett entered [18] Report and
   Recommendation recommending that Defendants' motion to dismiss be granted and that
   this case be dismissed without prejudice for lack of subject matter jurisdiction. On July 17,
   2023, Plaintiff filed [22] Objection to Report and Recommendation. Having carefully reviewed
   the notice of removal, the complaint, the report and recommendation, and Plaintiff's
   objections, the court concludes that the objections are not well taken. The court accordingly
   OVERRULES Plaintiff's objections and ADOPTS Judge Bennett's report and
   recommendation. In the interests of justice, dismissal shall be without prejudice. This action
   is DISMISSED WITHOUT PREJUDICE. SO ORDERED. Signed by Judge Howard C. Nielson,
   Jr., on 8/11/2023. No attached document. (tf)


   1:23−cv−00042−HCN Notice has been electronically mailed to:

   Amanda A. Berndt amanda.berndt@usdoj.gov, CaseView.ECF@usdoj.gov, lacey.kiger@usdoj.gov,
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   Raland J. Brunson   raland.brunson@hotmail.com

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                                                            U.S. DISTRICT COURT
AO 450 (Rev.5/85) Judgment in a Civil Case




                                  United States District Court
                                             District of Utah


RALAND J. BRUNSON,
                              Plaintiff,             JUDGMENT IN A CIVIL CASE
                                   v.

SONIA SOTOMAYOR, in her official                         Case Number: 1:23-cv-00042-HCN
capacity as Justice of the Supreme Court of
the United States; ELANE KAGAN, in her
official capacity as Justice of the Supreme
Court of the United States; KETANJI
BROWN JACKSON, in her official capacity
as Justice of the Supreme Court of the United
States; and Jane Does 1–100,
                            Defendants.




           IT IS ORDERED AND ADJUDGED



     That this action is dismissed without prejudice.



August 11, 2023                                   BY THE COURT:
Date

                                                  _____________________________________
                                                  Howard C. Nielson, Jr.
                                                  United States District Judge




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   Case 1:23-cv-00042-HCN Document 25 Filed 08/15/23 Page 1 of 2 PageID 156
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 70


                                                                   FILED IN UNITED STATES DISTRICT
  Raland J Brunson                                                     COURT, DISTRICT OF UTAH
  4287 South Harrison Blvd., #132
  Ogden, Utah 84403                                                        AUG 15 2023
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                             UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH

  RALAND J BRUNSON,                                          NOTICE OF APPEAL
                Plaintiff,                       Case No. 1:23-cv-00042-HCN-JCB
             vs.                                 Judge: Howard C. Nielsen
                                                 Magistrate Judge: Jared C. Bennett
  SONIA SOTOMAYOR, et al.,

                   Defendants.

         Notice is hereby given that Plaintiff Raland J Brunson in the above named case hereby

  appeals to the United States Court of Appeals for the 10th Circuit from a final judgment known

  as "WDGMENT IN A CIVIL CASE" entered in this action on August 11 th , 2023 [ECF 24]

  taken from the United States District Court For The District Of Utah.

         Humbly submitted this the 14th day of August, 2023.




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   Case 1:23-cv-00042-HCN Document 25 Filed 08/15/23 Page 2 of 2 PageID 157
Appellate Case: 23-4108 Document: 010110918352 Date Filed: 09/13/2023 Page: 71



                                  CERTIFICATE OF SERVICE

  I hereby certify that on the 15 th day of August, 2023 I personally placed in the United States Mail
  to the individuals named below a true and correct copy of NOTICE OF APPEAL


  TRINA A. HIGGINS
  AMANDA A. BERNDT
  Attorneys of the United States of America
  111 South Main Street, Suite 1800
  Salt Lake City, Utah 84111




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